     Case: 1:20-cv-02626 Document #: 54 Filed: 07/10/20 Page 1 of 2 PageID #:2721




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

NIKE, INC.,
                                                     Case No. 20-cv-02626
               Plaintiff,
                                                     Judge Elaine E. Bucklo
v.
                                                     Magistrate Judge Sunil R. Harjani
AFU-SHOES STORE, et al.,

               Defendants.


                              SATISFACTION OF JUDGMENT
       WHEREAS, a judgment was entered in the above action on July 6, 2020 [52], in favor of

Plaintiff Nike, Inc. (“Plaintiff” or “Nike”) and against the Defendants Identified in Schedule A in

the amount of two hundred thousand dollars ($200,000) per Defaulting Defendant for willful use

of counterfeit NIKE Trademarks in connection with the offer for sale and/or sale of products

through at least the Defendant Internet Stores, and Nike acknowledges payment of an agreed upon

damages amount, costs, and interest and desires to release this judgment and hereby fully and

completely satisfy the same as to the following Defendants:

                Defendant Name                                         Line No.
               Shop3054061 Store                                          89
               The first sports hall                                     110
              WTUVIVE mma Store                                          123


       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendants are hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.




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    Case: 1:20-cv-02626 Document #: 54 Filed: 07/10/20 Page 2 of 2 PageID #:2722




Dated this 10th day of July 2020.            Respectfully submitted,

                                             /s/ RiKaleigh C. Johnson
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